Case 8:14-cv-01732-VMC-TBM Document 89 Filed 10/11/16 Page 1 of 2 PageID 2794




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

   NORIS BABB
        Plaintiff,

   v.                                                Case No.: 8:14-cv-1732-T-33TBM

   ROBERT A. MCDONALD, Secretary,
   DEPARTMENT OF VETERANS AFFAIRS,
         Defendant.
   ________________________________________/

                            PLAINTIFF’S NOTICE OF APPEAL

          NOTICE is hereby given that Plaintiff, Noris Babb appeals to the United States Court

   of Appeals the following Order and Judgment in the above-styled case:

          1.     The court’s Order dated August 23, 2016 (Doc. No. 83) granting Defendant’s

   Motion for Summary Judgment.

          2.     The Judgment entered in favor of the Defendant on August 23, 2016 (Doc.

   No. 84)

                                                     Respectfully submitted,


                                                      /s/ Joseph D. Magri____
                                                     Joseph D. Magri
                                                     Florida Bar No.: 0814490
                                                     Merkle Magri & Meythaler, P.A.
                                                     5601 Mariner St., Suite 400
                                                     Tampa, FL 33609
                                                     Fax.: (813) 281-2223
                                                     Email: jmagri@merklemagri.com
                                                     Attorney for Plaintiff
Case 8:14-cv-01732-VMC-TBM Document 89 Filed 10/11/16 Page 2 of 2 PageID 2795




                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on September 11, 2016, I electronically filed the

   foregoing with the Clerk of the Court using the CM/ECF system, which will send a notice of

   the electronic filing to the following CM/ECF participants:

   A. Lee Bentley, III
   United States Attorney
   Michael Kenneth
   Florida Bar No.: 44341
   Assistant United States Attorney
   400 North Tampa St., Ste. 3200
   Tampa, Florida 33602
   Tel: 813/274-6000
   Fax: 813/274-6198
   Email: michael.kenneth@usdoj.gov
   Attorney for Defendant



                                                       /s/JOSEPH D. MAGRI
                                                       Joseph D. Magri




                                                2.
